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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


JANE DOE 1, individually and on behalf of all
others similarly situated,
             Plaintiff,                                   Case No. 22-CV-10018-UA (JSR)

                 v.
DEUTSCHE BANK AKTIENGESELLSCHAFT,
et al.,
             Defendants.



JANE DOE 1, individually and on behalf of all
others similarly situated,
             Plaintiff,                                   Case No. 22-CV-10019-UA (JSR)

                 v.
JP MORGAN CHASE & CO.,
             Defendant.


DECLARATION OF DAVID B. HENNES IN SUPPORT OF MOTION TO DISMISS ON
BEHALF OF DEUTSCHE BANK AKTIENGESELLSCHAFT, DEUTSCHE BANK AG
 NEW YORK BRANCH, AND DEUTSCHE BANK TRUST COMPANY AMERICAS

       I, David B. Hennes, declare as follows:

       1.        I am an attorney duly admitted to practice before this Court and a member of the

law firm of Ropes & Gray LLP. I am counsel for Defendants Deutsche Bank Aktiengesellschaft,

Deutsche Bank AG New York Branch, and Deutsche Bank Trust Company Americas (collectively,

“Deutsche Bank”) in the above-captioned case.

       2.        I submit this declaration in support of Deutsche Bank’s Motion to Dismiss filed

contemporaneously herewith. Based on my involvement in this action, I have personal knowledge

of the information set forth herein, and if called as a witness, I could and would competently testify

thereto.
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       3.       Attached hereto as Exhibit A is a true and correct copy of a fully executed General

Release and Settlement Agreement between Plaintiff and the Co-Executors of the Estate of Jeffrey

E. Epstein, dated                .

       4.       Attached hereto as Exhibit B is a true and correct copy of a Non-Prosecution

Agreement between R. Alexander Acosta, United States Attorney for the Southern District of

Florida, and Jeffrey Epstein, dated September 24, 2007 and publicly available at

https://reason.com/wp-content/uploads/2021/08/Non-Prosecution-Agreement-1433.pdf.

       5.       Attached hereto as Exhibit C is a true and correct copy of a Consent Order under

New York Banking Law §§ 39 and 44 issued by the New York State Department of Financial

Services in the matter of Deutsche Bank AG, Deutsche Bank AG New York Branch, and Deutsche

Bank Trust Company of the Americas, dated July 6, 2020 and publicly available at

https://www.dfs.ny.gov/system/files/documents/2020/07/ea20200706_deutsche_bank_consent_o

rder.pdf.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

Dated: February 7, 2023                              By:     /s/ David B. Hennes
                                                             David B. Hennes
